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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION
                           _____________________________________


JOHN KELLEY, et al.,

       Plaintiffs,

v.                                                 Civil Action No. 4:20-cv-00283-O

ALEX M. AZAR II, et al.,

       Defendants.

           DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS
     FIRST AMENDED COMPLAINT PURSUANT TO RULES 12(B)(1) AND 12(B)(6)



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31 Op. Off. Legal Counsel 73, 2007 WL 140549 (Apr. 16, 2007) ……………………………….9




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                                                 INTRODUCTION

            In a grab bag of claims, various Plaintiffs collectively contend that they challenge all the

     numerous preventive services insurance coverage requirements established pursuant to four

     subsections of the Affordable Care Act, despite asserting a putative injury from only two individual

     requirements—the so-called Contraceptive Mandate and the PrEP coverage requirement. As to the

     former, Plaintiffs assert no cognizable injury and the claims of many Plaintiffs are barred by res

     judicata as a result of this Court’s enjoining that requirement as to them in a previous case.

     Plaintiffs’ claims as to both requirements also fail both procedurally and on the merits, flying in

     the face of both established Supreme Court and Fifth Circuit precedent. The Complaint should be

     dismissed.

                                                   ARGUMENT

I.          PLAINTIFFS LACK STANDING

            For the DeOtte class members, Plaintiffs’ own allegations establish that they lack Article

     III standing to challenge the Contraceptive Mandate, because this Court has already granted them

     all possible relief against Defendants. The DeOtte injunction exempts these Plaintiffs from the

     Contraceptive Mandate—meaning the government permits insurers to offer exactly what the

     DeOtte class-member Plaintiffs want. See FAC ¶¶ 27, 37, ECF No. 14. And Plaintiffs do not go

     so far as to allege that it is impossible for them to obtain those plans. See FAC ¶ 37 (alleging that

     “few if any insurance companies are offering insurance of this sort”). Indeed, one DeOtte class-

     member Plaintiff, Braidwood Management, “acknowledge[s]” it “is no longer suffering injury in

     fact from the continued enforcement of the Contraceptive Mandate.” Opp’n 1 n.1. Plaintiffs’

     grievance is instead with the business choices of insurers, who have declined to offer a larger

     number of insurance plans on terms that Plaintiffs find acceptable even though the DeOtte



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injunction expressly permits them to.1 These Plaintiffs’ alleged harm cannot be attributed to

Defendants.

       Further, redressability for those class members relies on speculative predictions about the

future actions of third parties, which need not be accepted as true, and in any event are insufficient

to establish standing. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 (2013) (refusing to

“endorse standing theories that rest on speculation about the decisions of independent actors”).

Because those Plaintiffs’ theory of redressability is that third-party insurers will offer additional

plans that federal law already allows them to offer, they have not met their burden of pleading

redressability. These Plaintiffs’ PrEP-related claims fail for the same reason.2

       For Plaintiffs not members of the DeOtte class—those without a religious objection to

contraceptive coverage—they have failed to allege an Article III injury from the Contraceptive

Mandate, because the presence of contraceptive coverage in their plans does not harm them. Only

Schneiderman speculatively alleges—contrary to the cost-saving purpose of the preventive care



1
  To the extent that Plaintiffs have been unable to obtain desirable contraceptive-free insurance in
Texas notwithstanding the DeOtte injunction, Plaintiffs’ counsel has made clear why they believe
that to be true in a substantively similar case also pending in this District: Texas law “mak[es] it
impossible for individuals and employers with religious objections to purchase health insurance
that excludes contraceptive coverage unless they forego all coverage of prescription drugs.”
Complaint, Leal v. Azar, 20-cv-185-Z (N.D. Tex.), ¶ 51. This, too, is no fault of Defendants.
2
  To avoid the necessary conclusion from the FAC’s allegations that any inability of Plaintiffs to
secure insurance without PrEP drugs is not based on insurers’ market-based choices, Plaintiffs
contend in a footnote of their Opposition that their FAC alleges that they someday will not be able
to acquire insurance without covering this drug. Opp’n at 7 n.5. But the FAC itself plainly says
otherwise. See FAC ¶ 35 (alleging in present tense that ACA “makes it impossible” to obtain their
desired insurance) (emphasis added); cf. In re Kosmos Energy Ltd. Sec. Litig., 955 F. Supp. 2d
658, 676 (N.D. Tex. 2013) (“[A] plaintiff may not amend its complaint in [a] response to a motion
to dismiss.”)




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provision—that the inclusion of the whole set of preventive care mandates raises his premiums.

But he does not allege that he objects to any specific preventive care service or that he would

decline coverage for such services for his employees if he had the option. See FAC ¶¶ 49-52. And

his cost increase theory is grounded on the purely speculative assumption that, absent these

preventive care mandates, third party insurers would choose to offer him a lower priced plan. Cf.

Clapper, 568 U.S. at 414 & n.5. Scheiderman therefore has not suffered a redressable injury, nor

have the other Plaintiffs who pleaded even less than him.

        For the preventive services mandates other than the Contraceptive Mandate and PrEP, no

Plaintiff has alleged a cognizable Article III injury, because no Plaintiff has alleged that the

inclusion of those coverages hurts it (with the exception of Schneiderman’s general and

insufficient complaint of higher premiums). Plaintiffs allege merely that they don’t need and don’t

want the coverage. Indeed, no Plaintiff identifies any specific requirement established pursuant to

either 42 U.S.C. §§ 300gg-13(a)(2) (relating to immunizations) or 300gg-13(a)(3) (relating to

pediatric care) to which he, she, or it objects.3 Plaintiffs argue they can “free-ride off” Plaintiff

Braidwood’s desire to “control” the coverage in its insurance plan, Opp’n 10, but Braidwood does

not allege that, given the choice, it would exclude any preventive care item or service from its plan

other than PrEP drugs. See FAC ¶¶ 58-65. Without some further allegation that they are actually

harmed by, inter alia, any specific immunization or pediatric care coverage requirement, Plaintiffs

offer nothing more than a disagreement with the law. And for Article III standing, Plaintiffs must


3
  Plaintiffs note that certain Plaintiffs refer in passing to not needing “free STD testing . . . because
they are in monogamous relationships” but do not identify any specific test to which they object
or that any such coverage requirement was established under either section 300gg-13(a)(2) or
section 300gg(a)(3). Nor is it plausible, without more, that either a provision regarding
immunizations or a provision regarding pediatric medicine would cover to STD tests applicable to
Plaintiffs. Opp’n at 9 (citing FAC ¶ 35). This allegation is insufficient to establish standing under
either subsection.

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      “show more than the presence of a disagreement.” Resident Council of Allen Parkway Vill. v. U.S.

      Dep't of Hous. & Urban Dev., 980 F.2d 1043, 1050 (5th Cir. 1993) (quoting Diamond v. Charles,

      476 U.S. 54, 62 (1986)). This Court should dismiss Plaintiffs’ claims for lack of standing.

II.          RES JUDICATA BARS THE CHALLENGES OF DEOTTE CLASS MEMBER
             PLAINTIFFS TO THE CONTRACEPTIVE MANDATE

             In their Motion, Defendants established that certain Plaintiffs’ claims are barred by res

      judicata, easily satisfying the Fifth Circuit test. Mot. 14-17, ECF No. 20. Plaintiffs’ only

      contention in response is that the Supreme Court’s decision in Whole Women’s Health v.

      Hellerstedt, 136 S. Ct. 2922 (2016), saves their claims. Opp’n 14-20. It does not.

             First, Hellerstedt did not abrogate the Fifth Circuit test for res judicata, which the court

      has applied on numerous occasions since. See, e.g., Colonial Oaks Assisted Living Lafeyette, LLC

      v. Hannie Dev., Inc., --- F.3d ----, 2020 WL 5015453 at *5 (5th Cir. Aug. 25, 2020).

             Second, Plaintiffs cannot draw a material distinction between DeOtte and the instant case.

      Plaintiffs claim that their current challenge is to the statute codified at 42 U.S.C § 300gg-13(a)(4),

      while DeOtte was a challenge to the “agency rules that codify the Contraceptive Mandate,” Opp’n

      12. This argument is premised on both a misreading of Hellerstedt and a misstatement of the FAC.

      The language from Hellerstedt on which Plaintiffs rely notes the unremarkable proposition that

      “two different statutory provisions” “with two different, independent requirements” and “that

      serve two different functions” can be challenged in separate suits. Hellerstedt, 136 S. Ct. at 2308;

      Opp’n 12 (quoting same). This language does not purport to authorize a second challenge to a

      single requirement—the Contraceptive Mandate—by bringing new legal arguments that were just

      as available to Plaintiffs at the time of the first challenge. Indeed, Plaintiffs’ own allegations make

      clear that the subject of their complaint is the Contraceptive Mandate established pursuant to

      HRSA’s guidelines, just as it was in DeOtte. Compare FAC at 1 (“In 2011 . . . [HRSA] issued an


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   edict that compels private insurance to cover all forms of FDA-approved contraceptive methods .

   . . .”) with DeOtte Am. Compl., at 1 (“Federal regulations require health insurance to cover all

   FDA-approved contraceptive methods.”); see also FAC ¶¶ 21-28 (section entitled “HRSA’s

   Contraceptive Mandate”); id. ¶ 37 (“The federal Contraceptive Mandate continues to inflict injury

   in fact on these plaintiffs and other religious objectors . . . .”). Plaintiffs here simply challenge the

   same law under new theories that they could just as easily have brought as part of DeOtte.4 This is

   squarely precluded by res judicata.

           Plaintiffs’ putative distinction between DeOtte’s challenge to “the behavior of executive

   branch officials” and their current challenge to “the legislature’s action” enacting the enabling

   statute fails for the same reason. Opp’n 13-14. In each case, Plaintiffs challenge only the

   Contraceptive Mandate, promulgated under authority granted by statute. To the extent Plaintiffs

   did not challenge the statutory basis for the Contraceptive Mandate in DeOtte, they unquestionably

   “could have . . . raised” those claims there. Colonial Oaks, 2020 WL 5015453 at *5. Such claims

   are thus part of the same nucleus of operative facts.

III.       PLAINTIFFS’ CONSTITUTIONAL AND ACA CLAIMS ARE TIME BARRED

           Plaintiffs do not dispute their failure to bring their claims within eight years of the time the

   Contraceptive Mandate took effect, nine years after it was established, and ten years after the

   enabling statute was passed. Each is well beyond the relevant limitations period. Nor do they

   dispute that the statutes cited in Defendants’ motion to dismiss are applicable here. They instead

   claim they can bring this litigation at any time on the theory that their claims “‘accrue[ ]’ each



   4
     Nor can Plaintiffs claim that any “factual developments” since DeOtte newly permit their claim.
   Hellerstedt, 136 S. Ct. 2306. The only relevant change since DeOtte is that it is now undisputable
   that the Contraceptive Mandate does not apply to religious objectors like Plaintiffs. See FAC ¶¶
   24, 25, 27.

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      day” the Mandate is enforced because it imposes an “ongoing” violation of constitutional rights.

      Opp’n 15. But the mandate is not being enforced against DeOtte class member Plaintiffs; they can

      thus bring only a facial challenge to the statute’s enforcement upon others. But the time to bring a

      facial challenge to the statute’s enforcement against others is long past. For similar reasons, the

      other Plaintiffs’ purely speculative assertion that they might pay lower premiums if there were no

      Contraceptive Mandate (or other preventive coverage mandate) is inadequate to support any

      newly-accruing injury to them.5

IV.          PLAINTIFFS FAIL TO STATE A CLAIM FOR VIOLATION OF THE
             APPOINTMENTS CLAUSE OR THE VESTING CLAUSE

             Plaintiffs’ Opposition likewise fails to save their Appointments Clause and Vesting Clause

      claims. First, as Defendants have explained, Plaintiffs forfeited this claim by failing to present it

      to the agencies. Mot. 19-21. Plaintiffs do not dispute that they failed to present these claims to the

      agencies in the first instance. Instead, they implausibly assert that they are simply targeting a

      statute, not agency action, and thus need not have presented these claims to the agencies. The FAC

      refutes this contention. It makes clear that Plaintiffs’ challenge is to the specific requirements that

      contraceptives and PrEP drugs be covered by insurance, pursuant to HRSA’s guidelines and

      PSTF’s recommendations, respectively. See, e.g., FAC at 1-2; id. ¶¶ 21-31 (sections entitled “The

      HRSA’s Contraceptive Mandate” and “The U.S. Preventive Services Task Force’s PrEP

      Mandate”); 42 U.S.C § 300gg-13(a)(1) & (a)(4). Their challenge is not to the enabling statute—

      which does not itself act on Plaintiffs—in the abstract. Indeed, Plaintiffs themselves frame their

      Appointments Clause claim as a challenge to the way members of PSTF, ACIP, and HRSA are


      5
        Nor are Plaintiffs correct that the statute of limitations does not apply to claims against cabinet
      secretaries. Texas v. Rettig, 968 F.3d 402, 413 (5th Cir. 2020), cited in Defendants’ motion, is but
      one recent example in which claims against cabinet secretaries were dismissed pursuant to 28
      U.S.C. § 2401(a)).

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appointed in light of their authority, resulting in Plaintiffs’ request that the Court “declare that”

preventive care mandates “based on a rating, recommendation, or guideline issued by the U.S.

Preventive Services Task Force, the Advisory Committee on Immunization Practices, or the Health

Resources and Services Administration” after March 2010 are unconstitutional. FAC ¶ 77; see id.

¶¶ 66-80.

       Plaintiffs cite one case, Barr v. American Association of Political Consultants, 140 S. Ct.

2335 (2020), to attempt to refute the extensive authority cited by Defendants. That case has nothing

to do with the Appointments Clause and is inapposite for that reason alone. It also has no bearing

because plaintiffs in Barr challenged a statute that directly forbade them from taking certain

actions while permitting others to do so. See id. at 2344 (addressing the validity of “the TCPA’s

prohibit[ion of] almost all robocalls to cell phones” which is “codified in . . . the U.S. Code” in

light of the decision of “Congress [to] carve[] out a new . . . exception to [this] restriction”)

(emphasis added). Because Barr turned in no way on agency action, it does not speak to the claim

at issue here, which challenges what an agency did and whether it had the authority to do it.

       Plaintiffs also fail to refute the Secretary of Health and Human Services’ ratification of the

Contraceptive Mandate or the CDC Director’s ratification of ACIP’s recommendations. First,

Plaintiffs do not dispute that either the Secretary or the CDC Director was constitutionally

appointed, nor do they contend that neither ratified the relevant guidelines. Instead, they claim the

statute does not provide the Secretary or CDC Director with the authority to do so and that it in

any event “empowers HRSA or ACIP to dictate the preventive care that private insurers must cover

until an ‘officer of the United States’ acts to approve or revoke their decisions.” Opp’n 18. But

Plaintiffs’ argument fails for the fundamental problem that the HHS Secretary did ratify the

Contraceptive Mandate before it took effect, so the hypothetical of whether some other guideline



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not discussed in the FAC could take effect without ratification is not at issue here. See 76 Fed.

Reg. 46,621 (Aug. 3, 2011) (interim final regulations “[a]pproved” by the “Secretary” of HHS

permitting Contraceptive Mandate to take effect but authorizing religious exemption to the

Contraceptive Mandate). And their argument is even more baseless with regard to ACIP, whose

charter expressly makes clear that the CDC Director must “adopt[]” its recommendations before

they are “in effect” as required for coverage under the preventive services provision.6 Charter of

the Advisory Committee on Immunization Practices7 at 1; 42 U.S.C. § 300gg-13(a)(2); see also

Compl. Ex. 2 (45 C.F.R. § 147.130(a)(1)(ii)) (ACA implementing regulations providing that

immunization recommendations must be “in effect” to have an insurance coverage requirement

and that “for this purpose, a recommendation from the Advisory Committee on Immunization

Practices of the Centers for Disease Control and Prevention is considered in effect after it has been

adopted by the Director of the Centers for Disease Control and Prevention”).

         Next, Plaintiffs ask this Court to disregard the binding authority of Riley v. St. Luke’s

Episcopal Hosp., 252 F.3d 749 (5th Cir. 2001), which requires that a position have “at a minimum,

a continuing and formalized relationship of employment with the United States Government” to

qualify as an “officer” for purposes of the Appointments Clause, by reading this requirement out

of existence. Id. at 757. Specifically, Plaintiffs contend that this Court should “interpret[]” (Opp’n

20) Riley’s standard to not require an individual to draw a salary to be an “officer of the United

States,” despite the Court in Riley explicitly concluding that qui tam plaintiffs do not meet this


6
  The arguments in Plaintiffs’ standalone section regarding ACIP (Opp’n 24-25) are misplaced for
this reason. ACIP does not have the power to “dictate” insurance coverage. The CDC Director
must approve ACIP’s recommendations for coverage to be required; for that reason, (a) it remains
“advisory” and (b) whatever its members’ status, the CDC Director is unquestionably their
“superior” officer.
7
    https://www.cdc.gov/vaccines/acip/committee/acip-charter.pdf.

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standard and are thus not officers of the United States on the sole grounds that they “do not draw

a government salary and are not required to establish their fitness for public employment.” Riley,

252 F.3d at 758 (emphasis added). Such a contorted “interpretation” is simply a request by

Plaintiffs that the Court improperly refuse to follow this binding precedent, and Plaintiffs’ criticism

of the government for bringing binding circuit authority to the attention of the Court is

extraordinary.8 Even if Plaintiffs’ strained reading of Riley’s “continuing and formalized

relationship of employment” test not requiring payment of a salary were correct, it would still not

bring the members of PSTF and ACIP within this language. As a Federal Advisory Committee,

ACIP’s members by definition cannot all be “full-time, or permanent part-time, officers or

employees of the Federal Government.” 5 U.S.C. app. § 3(2). Whatever Riley’s standard may

require, ACIP’s members by definition do not meet it. Similarly, PSTF members are not just

unpaid volunteers, but also meet only “three times a year for two days,” which likewise cannot

satisfy the “minimum” under Riley whether or not payment is necessary to that standard. 85 Fed.

Reg. 711, 712 (Jan. 7, 2020).

       But even if the Court were to take up Plaintiffs’ implied request to turn a blind eye to Riley,

it would not help them. As Plaintiffs note, in Lucia v. SEC, 138. S. Ct. 2044, 2051 (2018), the

Supreme Court has held that an “officer of the United States” must “occupy a ‘continuing’ position

established by law” and “‘exercise[e] significant authority pursuant to the laws of the United

States.’” Id. (citation omitted). Of course, this test is consistent with Riley and this Court must


8
  Plaintiffs argue that a 2007 Office of Legal Counsel Opinion (“OLC”) containing an analysis of
the Appointments Clause that differs from Riley requires rejecting the substance of that decision.
See Opp’n 21-23 (citing 31 Op. Off. Legal Counsel 73 (Apr. 16, 2007). In fact, as the cited OLC
opinion acknowledges the OLC has itself taken conflicting positions over the years about whether
employment “is considered essential” to the definition of “officer” under the Appointments Clause.
See 31 Op. Off. Legal Counsel 73, 2007 WL 140549, at *4. But to the extent the OLC’s opinions
conflict with the Circuit precedent in Riley, it is the latter, not the former, that binds this Court.

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follow both. But the relevant expert bodies do not meet this test even disregarding Riley, because

as made clear in Defendants’ motion, these bodies do not “exercise significant authority pursuant

to the laws of the United States.” In pressing the contrary conclusion, Plaintiffs fundamentally

misunderstand the role of the expert bodies who provide the preventive care guidelines and

recommendations that, pursuant to ACA, must be covered by insurance. In 42 U.S.C. § 300gg-

13(a), Congress made the determination that standard contemporary preventive care practices

should be covered by insurance without cost sharing. The authority of the expert bodies referenced

in the statute is limited, and this limited nature of their authority is not changed by the statute’s

incorporation of their work by reference. Specifically, their limited role is to set forth what

contemporary preventive care practices are the prevailing medical standard at a given time. In

other words, these expert bodies are not “unilaterally dictat[ing] the scope of preventive care that

all private insurers must cover,” because Congress has already made that determination. Opp’n 21.

The expert bodies simply have the task of setting forth, in a world where medical science is

evolving daily, what practices qualify in the medical field as the current standard of care.

       Plaintiffs concede, as they must, that Congress can constitutionally incorporate the

evolving standards established by outside bodies into the laws of the United States. Opp’n 20. But

they implausibly claim that doing so becomes permissible only if such outside bodies are not

associated with the federal government in any way. This proposition is absurd: if Congress can

appropriately incorporate the expert standards of wholly non-federal entities like state

governments, foreign governments, or nongovernmental organizations, who are unquestionably

not “officers of the United States,” then the creation of such standards cannot be the exercise of

“significant authority pursuant to the laws of the United States” that would require appointment




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     pursuant to the Appointments Clause. Lucia, 138 S. Ct. at 2051. Plaintiffs’ vesting clause claim,

     which relates only to PSTF’s recommendations, fails for the same reason.

V.           THE ACA’S PREVENTIVE SERVICES PROVISIONS DO NOT VIOLATE
             NONDELEGATION PRECEDENTS

             In claiming the only intelligible principle governing the PSTF’s recommendations are

     PSTF’s “own criteria” and not Congress’s (Opp’n 27), Plaintiffs ignore that the statute governing

     the PSTF itself states that the PSTF’s recommendations regarding “clinical preventive services”

     must be made on the basis of “the scientific evidence related to the effectiveness, appropriateness,

     and cost-effectiveness of clinical preventive services.” Mot. at 27 (quoting 42 U.S.C. § 299b-

     4(a)(1)). If that is not guidance on how PSTF exercises its discretion, it is unclear what would

     satisfy Plaintiffs.

             And for all of the challenged provisions, instead of arguing that the statute lacks an

     intelligible principle, Plaintiffs essentially argue that every intelligible principle should have

     additional subsidiary principles. This is not the law. Plaintiffs cannot and do not dispute that each

     challenged provision, in entrusting the relevant entity with the discretion to make

     recommendations, instructs those entities regarding the nature of the recommendations they are

     empowered to make. For PSTF, those are “evidence-based items or services that have in effect a

     rating of ‘A’ or ‘B.’” 42 U.S.C. § 300gg-13(a)(1). For ACIP, the recommendations must be

     “immunizations that have in effect a recommendation . . . with respect to the individual involved.”

     Id. § 300gg-13(a)(2). For HRSA, they are either “evidence-informed preventive care or

     screenings” “with respect to infants, children, and adolescents,” or they are “additional preventive

     care and screenings” “with respect to women . . . as provided for in comprehensive guidelines.”

     Id. §§ 300gg-13(a)(3), (4). Those terms all instruct the relevant entities in exercising their

     discretion.


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             Although Plaintiffs contend that the agencies should have further instructions about how

      to follow those broader instructions, nondelegation precedents expressly permit even statutory

      delegations that allow extremely broad discretion within very general guidelines, such as the

      authority to recoup “excess profits” without defining what profits are “excess.” Whitman v. Am.

      Trucking Ass’ns, 531 U.S. 457, 475 (2001) (citation omitted). And here Congress has not

      empowered PSTF, ACIP, or HRSA to set standards that “affect the entire national economy,” but

      instead has given each entity the power to define a term in a cabined regulatory scheme. See id.

             Plaintiffs essentially ask this Court to anticipate a change in Supreme Court nondelegation

      caselaw, citing Little Sisters of the Poor v. Pennsylvania. But the Little Sisters Court expressly

      disavowed making any conclusion on nondelegation. 140 S. Ct. 2367, 2382 (2020). Current

      Supreme Court and Fifth Circuit precedents permit the level of guidance offered in §§ 300gg-

      13(a)(1) through (4), and this Court should not act in anticipation of a change in binding

      precedents. See Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989); Big

      Time Vapes, Inc. v. Food & Drug Admin., 963 F.3d 436, 447 (5th Cir. 2020) (“The Court might

      well decide—perhaps soon—to reexamine or revive the nondelegation doctrine. But ‘[w]e are not

      supposed to ... read tea leaves to predict where it might end up.’”) (citation omitted).

VI.          THE CHALLENGED PROVISIONS INCORPORATE RECOMMENDATIONS
             AND GUIDELINES ISSUED AFTER THE STATUTE’S ENACTMENT

             Plaintiffs essentially concede their argument on this point, explicitly “agree[ing]” that the

      “most natural” reading of the challenged provisions is that they incorporate post-enactment

      recommendations and guidelines and “would compel any court to adopt the government’s

      construction of the statute” in the absence of constitutional doubt. Opp’n 30. Plaintiffs’ sole

      argument is that the avoidance canon compels courts to adopt “unnatural or unplausible” or

      “exceedingly dubious interpretations.” Id. But the Supreme Court has flatly rejected this argument,


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   expressly holding in Jennings v. Rodriguez that it was error for the Ninth Circuit to invoke the

   avoidance canon to adopt “interpretations of the . . . provisions at issue [that] are implausible.” 138

   S. Ct. 830, 842 (2018). Instead, the Supreme Court has limited the avoidance canon only to those

   situations where, “after the application of ordinary textual analysis, the statute is found to be

   susceptible of more than one construction.” Id. If there is not “more than one plausible

   construction, the canon simply ‘has no application.’” Id. (citation omitted). Here, the ordinary tools

   of statutory construction lead inexorably to the conclusion that the statute means what Plaintiffs

   concede it means—that the statute incorporates post-enactment guidelines and recommendations.

   The avoidance canon is inapplicable.

VII.      PLAINTIFFS FAIL TO ALLEGE A VIOLATION OF RFRA

          Plaintiffs claim that they assert “complicity-based objections” to the requirement that

   insurance cover PrEP drugs in certain cases, which must be accepted if sincere. Opp’n 32. But the

   allegations in the FAC do not make any such complicity-based assertions, and Plaintiffs cannot

   amend their FAC with statements in their Opposition. See, e.g., In re Kosmos Energy Ltd. Sec.

   Litig., 955 F. Supp. 2d at 676. Braidwood simply alleges that “homosexual behavior . . . is contrary

   to [its owner] Dr. Hotze’s sincere religious beliefs” and the individual religious objector Plaintiffs

   simply claim that they are “unwilling” to purchase health insurance that subsidizes PrEP drugs. Id.

   at 31 (quoting FAC at ¶¶ 36, 63). And Kelley Orthodontics does not allege any religious objection

   to the requirement that insurance plans cover PrEP drugs in certain cases at all. In short, the FAC

   does not allege that providing or purchasing insurance coverage for PrEP drugs is contrary to

   Plaintiffs’ sincere religious beliefs. Because Plaintiffs do not allege that any of their “religious

   exercise [that] is grounded in a sincerely held religious belief” is “substantially burdened” by the

   requirement that PrEP drugs be covered by insurance in certain cases, they have failed to state a

   RFRA claim. United States v. Comrie, 842 F.3d 348, 351 (5th Cir. 2016).
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                                        CONCLUSION

       For the reasons set forth above, Defendants’ motion to dismiss (ECF No. 20) should be

granted.


 Respectfully submitted,

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                                        Certificate of Service

       On October 5, 2020, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties who have appeared in the case

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Christopher M. Lynch
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                                                      Trial Attorney




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